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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

Lisa Lasarge
Case No. 1:23-cv-14836
V. Hon. Thomas M. Durkin
Hon. Jeffrey Cole
Fastex Logistics, Inc.

MOTION TO QUASH SERVICE OF PROCESS ON FASTEX LOGISTICS, INC.

Specially appearing Defendant, Fastex Logistics, Inc. (“Fastex”) move for an order
quashing service of the summons and Complaint by Plaintiff, Lisa Lasarge (“Plaintiff”) on the
ground that it has not been properly served on Fastex. Plaintiff filed a proof of service in this matter
acknowledging that Plaintiff served Jimmy Fuklov via a special process server and that such
person, “Jimmy”, was authorized to accept service for Fastex. However, Fastex has never had a
Jimmy Fuklov work for them in any capacity and don’t know who this individual is in any capacity.

Fastex is an Illinois corporation, no waiver has been provided, and under the Federal Rules
of Civil Procedures 4(h)(1)(B), service on a corporation may be had by serving an officer,
managing or general agent, or any other agent authorized by appointment or by law to receive
service of process and — if the agent is on authorized by statute and the statute so requires — by also
mailing a copy of each to the defendant.

Federal Rule of Civil Procedure 12(b)(5) provides that a party may assert the defense of
“insufficient service of process” by way of motion. Challenges to the manner of service are
interpreted strictly as “valid service of process is necessary in order to assert personal jurisdiction
over a defendant.” (Mid-Continent Wood Products, Inc. v. Harris, 936 F.3d 297, 300-301 (7th Cir.
1991).) “[I]t is well recognized that a defendant's actual notice of the litigation . . . is insufficient

to satisfy Rule 4’s requirements.” (/d. at 301 (internal quotations omitted).)
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In this instance, Plaintiff filed the Complaint on 10/12/23. See Dkt #1. It appears a
summons was entered on 10/13/23, then an alias summons on 10/19/23, then another summons on
10/20/23, but Plaintiff has apparently served the alias summons when no attempt was made for
service on the original summons. See Dkt #4. Plaintiffs service fails as to the alias summons. The
alias summons’ proof of service, Dkt #4, alleges that a Jimmy Fuklov, the alleged Safety Manager
for Fastex, is designated by law to accept service of process on behalf of Fastex and accepted
service on 10/24/23. Plaintiff errs.

Fastex does not know Jimmy Fuklov in any capacity and Jimmy Fuklov has not worked
for Fastex in any capacity. (Decl. of Veronica Lica in Support of Fastex’s Motion to Quash Service
of Summons and Complaint (“Lica Dec.”), § 3 & 4.) Jimmy Fuklov is not the registered agent for
Fastex. (Lica Dec. at § 5.) Jimmy Fuklov is not authorized to accept service on behalf of Fastex.
(Lica Dec. at § 6.) Finally, Jimmy Fuklov is not an officer of Fastex. (Lica Dec. {| 7.)

Here, Plaintiff has not served Fastex pursuant to Federal Rule of Civil Procedure 4(h)(1)(B)
as an officer was not served nor the managing or general agent, or any other agent of Fastex. Jimmy
Fuklov is completely unknown to Fastex.

For the foregoing reasons, Fastex respectfully requests that the Court quash Plaintiff’s

attempted service of summons and Complaint.

Dated: 11/14/23

/s/ Joe Welch

Joe Welch (IL ARDC #6322954)

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DECLARATION OF VERONICA LICA IN SUPPORT OF FASTEX’S MOTION TO
QUASH SERVICE OF SUMMONS AND COMPLAINT

I, Veronica Lica, declare:
1. I am the President of Fastex Logistics Inc. (“Fastex”). If called as a witness, I would

competently testify to the following facts based on my personal knowledge.

ae Fastex is a Illinois corporation with its principal place of business in Channahon,
IL.

3. Fastex does not know who Jimmy Fuklov is in any capacity.

4. Jimmy Fuklov has never worked for Fastex in capacity.

5: Jimmy Fuklov is not the registered agent for Fastex.

6. Jimmy Fuklov is not authorized to accept service on behalf of Fastex.

7 Jimmy Fuklov is not an officer of Fastex.

I declare under penalty of perjury under the laws of the State of Illinois that the foregoing

is true and correct. Y.
COL

President VERONICA LICA

Joe Welch (IL ARDC #6322954)
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